                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
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D.V.D., et al.,                           )
                                          )
                Plaintiffs,               )
                                          )       Civil Action No.
      v.                                  )       25-10676-BEM
                                          )
U.S. DEPARTMENT OF HOMELAND               )
SECURITY, et al.,                         )
                                          )
                Defendants.               )
_______________________________________)

                                             ORDER

MURPHY, J.

       At today’s emergency hearing, the Court ordered Defendants to maintain custody and

control of class members currently being removed to South Sudan or to any other third country, to

ensure the practical feasibility of return if the Court finds that such removals were unlawful. While

the Court leaves the practicalities of compliance to Defendants’ discretion, Defendants have

ensured, and the Court expects, that class members will be treated humanely.

       The Court has further ordered that Defendants be prepared at tomorrow’s prescheduled

hearing to identify by name the affected class members and to address: (1) the time and manner of

notice each individual received as to their third-country removal; and (2) what opportunity each

individual had to raise a fear-based claim. In the event that Defendants determine that N.M. is not

a class member, or was otherwise removed to any country other than South Sudan, Defendants

must nonetheless be prepared to address the details of his removal, including when and to where

he was removed, the names of individuals personally involved in executing his removal, and any

information currently in Defendants’ possession regarding his current whereabouts.
So Ordered.

                      /s/ Brian E. Murphy
                      Brian E. Murphy
Dated: May 20, 2025   Judge, United States District Court




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